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IN THE U.S. DISTRICT COURT

FOR THE DISTRICT OF MARYLAND
Joseph Cilione, et al. *
Plaintiffs *

v. * Case No. RDB 19-cv-00627

Victoria’s Crab House, Inc., et al. *
Defendants *
/

DECLARATION OF SCOTT E. KRAFF

1. I, Scott E. Kraff, Esq., am at least 18 years of age and competent to testify, and I am not a

party to, or related to a party, in this action. I am employed by Hoffman Employment Law,
LLC, and serve as an associate to Howard B. Hoffman, counsel to the Plaintiffs in the
above-referenced matter.

By way of brief background, | am an attomey in private practice, and I concentrate on
employment law. I have practiced law since 2016, when I graduated from Georgetown
University Law Center. I am admitted to the Maryland bar (since 2016) and I was swom
into the bar for the U.S. District Court for the District of Maryland on May 24, 2019.
Prior to my employment with Hoffman Employment Law, LLC, I gained experience in
employment law during my two-year tenure as a law clerk at Joseph, Greenwald, & Laake,
P.A., a civil litigation firm in Greenbelt, Maryland. As a law clerk, | worked on cases on
behalf of plaintiffs in cases involving unlawful discrimination and hostile work
environments, retaliation, unpaid wages, and other related matters. As an associate with
Hoffman Employment Law, LLC, I now focus almost exclusively on employment law

cases, primarily those concerning unpaid wage violations involving the FLSA and related

 

 
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state statutes.

4, My total time in this case, through September 11, 2019, was 23.2 hours. The total value
of this time is $4,756.00. Aside from the review of documents and communications and
requisite conferences with Howard B. Hoffman, opposing counsel, and the Court, I worked
on several more complex tasks during the case, including drafting written discovery,
working with the expert to produce an expert report and damage calculations, drafting the
amended complaint, conducting legal research for the motion to enforce settlement, and
participating in meetings and conferences.

5. I maintained my time and costs records in this case, which I placed into “Rocketmatter”©
software. The time records reflect actual time that I expended in the prosecution of this
litigation (the “RocketMatter” entries are not in the court’s required lodestar billing
format). linputted my time promptly following work performed. I specified the time spent
per task to the fullest extent practicable and I avoided the practice of block billing.

6. The hourly rate claimed in this case, i.e., $205/hour, is well within the range permitted by
the U.S. District Court for the District of Maryland (Lodestar Guidelines). My requested

rate is also supported by primary counsel on this matter, Howard B. Hoffman, Esq., whose

Declaration is marked Exhibit 2.

DECLARANT FURTHER SAYETH NAUGHT

T solemnly affirm under the penalties of perjury that the contents of the foregoing
declaration of true and correct.

 

Scott E. Kraff, Esq.
October 23, 2019

 
